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     Federal Public Defender
 2   Nevada State Bar No. 11479
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     Nisha_Brooks-Whittington@fd.org
 6   Attorney for Ray Lucero Aguilera

 7
                                  UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 2:11-cr-00202-JCM-DJA

11                   Plaintiff,                                STIPULATION TO CONTINUE
                                                                 REVOCATION HEARING
12            v.
                                                                      (First Request)
13   RAY LUCERO AGUILERA,

14                   Defendant.

15
16            IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
17   United States Attorney, and Daniel J. Cowhig, Assistant United States Attorney, counsel
18   for the United States of America, and Rene L. Valladares, Federal Public Defender, and
19   Nisha Brooks-Whittington, Assistant Federal Public Defender, counsel for Ray Lucero
20   Aguilera, that the Revocation Hearing currently scheduled on June 24, 2022 at 10:30 a.m., be
21   vacated and continued to a date and time convenient to the Court, but no sooner than two (2)
22   weeks.
23            This Stipulation is entered into for the following reasons:
24            1.     Defense counsel needs additional time to prepare, investigate, and discuss the
25   case with Defendant.
26            2.     The defendant is in custody and agrees with the need for the continuance.
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 1        3.     The parties agree to the continuance.
 2        This is the first request for a continuance of the revocation hearing.
 3        DATED this 22nd day of June 2022.
 4
 5   RENE L. VALLADARES                             JASON M. FRIERSON
     Federal Public Defender                        United States Attorney
 6
 7       /s/ Nisha Brooks-Whittington                   /s/ Daniel J. Cowhig
     By_____________________________                By_____________________________
 8   NISHA BROOKS-WHITTINGTON                       DANIEL J. COWHIG
     Assistant Federal Public Defender              Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:11-cr-00202-JCM-DJA
 4
                   Plaintiff,                           ORDER
 5
            V.
 6
     RAY LUCERO AGUILERA,
 7
                   Defendant.
 8
 9
1O          Based on the pending Stipulation of counsel, and good cause appearing,

11   IT IS ORDERED that the revocation hearing currently scheduled for Friday, June

12   24, 2022 at 10:30 a.m., be vacated and continued to July 27, 2022, at 10:30 a.m.

13
14          DATED June 24, 2022.
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16
                                                            TATES DISTRICT JUDGE
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